          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR33



UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )            ORDER
                                          )
                                          )
OTIS RORIE, JR.                           )
                                          )


      THIS MATTER is before the Court on motion of defense counsel for

permission to file for an interim payment of counsel fees.

      For the reasons set forth in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that counsel’s motion is ALLOWED,

and Gregory A. Newman is hereby permitted to file an interim fee petition

in this matter.


                                      Signed: September 12, 2007




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